Case 1:18-cr-00006-DHB-BKE Document 40 Filed 06/04/18 Page 1 of 1
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                                                    U.S. DISTRICT COURT
                                                         AUGUSTA DiV.

                 UNITED STATES DISTRICT COqUfJUH-U PM 1-2U
                SOUTHERN DISTRICT OF GEORGIA
                     AUGUSTA DIVISION
                                                         SOT^T. Ur GA.


UNITED STATES OF AMERICA

               V.                          CR 1:18-006


KENNETH BURRELL




                                ORDER


      Upon due consideration, the Government's motion to dismiss with

prejudice Indictment No. CR 1:18-006 as to Defendant Kenneth Burrell (doc.

no. 39) is hereby GRANTED.

     SO ORDERED,this *1'
                       ' day of June, 2018.




                                 UNITED STAT       DISTRICT JUDGE
